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                             IN THE UNITED STATED DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                     BROWNSVILLE DIVISION

 VANGUARD ENERGY, LLC                                      §
                                                           §
 v.                                                        §                 Case No. 1:21-cv-117
                                                           §
 GLOBAL ENTERPRISE SOLUTIONS,                              §
 LLC AND XD VENTURES, LLC                                  §                     Jury Demanded
                                                           §


                                      AGREED SCHEDULING ORDER


1. Jury Trial: Estimated time to try: 5 days.

2. Parties must comply with FRCP 15 in amending pleadings.

3. New party joinder deadline:                                           02/15/2023
      Furnish a copy of this scheduling order to new parties.

4. The plaintiff’s expert and report deadline:                           04/14/2023
      See FRCP 26(a)(2)(D); Local Rule 9(A)(4).

5. The defendant’s expert and report deadline:                           05/13/2023
      See FRCP 26(a)(2)(D); Local Rule 9(A)(5).

6. Discovery completion deadline:                                        10/11/2023
   Every disclosure under FRCP 26(a)(1) or (a)(3) and every discovery request, response, or objection must be signed
   by at least one attorney of record in the attorney's own name--or by the party personally, if unrepresented--and
   must state the signer's address, email address, and telephone number. See FRCP 26(g).

   Additionally, a party may move for an order compelling disclosure or discovery. The motion must include a
   certification that the movant has in good faith conferred or tried to confer with the person or party failing to make
   disclosure or discovery to help obtain it without court action. See FRCP 37(a)(1). Failure to comply with this
   rule may result in sanctions and the payment of reasonable expenses and attorney’s fees under FRCP 37(a)(5).

7. The parties’ mediation and status report deadline:                                       10/18/2023

8. Dispositive motions deadline:                                                            10/26/2023
      See FRCP 56(b).

9. Non-dispositive motions deadline:                                                        10/26/2023
   Responses to dispositive and non-dispositive motions are due 21 days
   after the motions are filed. See Local Rule 6(C)(2).

10. Daubert motions/motion to exclude expert deadline:                                      10/26/2023

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11. Joint pretrial order (including witness/exhibit lists) deadline:                     11/24/2023
   All parties must file the joint pretrial order on time.
   The following is only applicable to 8 U.S.C. § 1503 cases: Any testifying witness must execute an affidavit; the
   parties will submit all affidavits in conjunction with the joint pretrial order. See Exhibits A, B. At trial, the
   parties will be placed on time limits for direct and cross-examination. The Court will initiate questions to every
   witness before direct examination. See Exhibit C.

12. Objections to exhibit and witness lists deadline:                                    12/04/2023

13. Final Pretrial Conference is set for 2:00 P.M.:                                      01/09/2024

14. Jury Selection is set for 10:30 A.M.:                                                01/22/2024


         Signed on this the ________ day of ___________________, 2023.



                                                              _______________________________
                                                              Rolando Olvera
                                                              United States District Judge


Approved:


/s/ E. Michael Rodriguez                   February 3, 2023.
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